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                             In the Matter Of:

             UNITED STATES vs STATE OF GEORGIA
                               NO. 1:16-cv-03088-ELR




                              JUSTIN HILL

                              March 06, 2023




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·1· · · ·A· · We do.
·2· · · ·Q· · And what about regional GNETS programs
·3· presently now that it's optional for them?
·4· · · ·A· · I don't supervise the GNETS, so I can't
·5· speak to the supervisor in special education that
·6· provides that.· But I do know that the GNETS
·7· directors or their designees are certainly invited
·8· to attend all of our regional meetings, whether they
·9· are in person or online, and I do know that several
10· of them still implement it.
11· · · ·Q· · Does GaDOE currently support Georgia
12· schools with their adoption of the PBIS framework?
13· · · ·A· · They do.
14· · · ·Q· · In what ways?
15· · · ·A· · They do so with -- the team that has been
16· assembled at the State, that falls under me, the
17· large cadre of professionals that certainly deliver
18· training to schools, training to school climate
19· specialists to build regional capacity, in concert
20· with them, certainly train brand-new district
21· coordinators of the PBIS framework to make sure that
22· they can sustain implementation, which training
23· takes place, because implementing a framework is not
24· a pray-and-spray approach.· It's not just hiring a
25· professional trainer to train the school in a couple


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·1· · · · · · It's important to realize schools, plus
·2· programs, because GNETS is not a school, it's a
·3· program.· So we can put that together.
·4· · · ·Q· · How many schools have implemented Tier I
·5· of the PBIS framework?
·6· · · ·A· · That would be 1,419 and approaching 1,500.
·7· · · ·Q· · And how many schools have implemented Tier
·8· II of the PBIS framework?
·9· · · ·A· · Just north of 400.· About 403 as of end of
10· '21-22 school year, and we'll be calculating those
11· numbers for this school year here in a couple of
12· months.
13· · · ·Q· · How many schools have implemented Tier III
14· of the PBIS framework?
15· · · ·A· · Tier III is typically not provided by us.
16· We certainly concluded developing our Tier III, our
17· advanced tiers training curriculum, but for some of
18· the Tier III trainings that the GNETS might
19· participate in, I think that's been used -- been
20· facilitated by the Georgia State University, Dr.
21· Daniel Crimmins.
22· · · ·Q· · Do you have information about how many
23· schools currently implement a Tier III framework for
24· PBIS?
25· · · ·A· · I do not.


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